Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 1 of 13 Page ID #:708




                    EXHIBIT A
Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 2 of 13 Page ID #:709
                           Edwardo L. Munoz - February 20, 2019

   1         Q    So it's not really fine print.        Is it fine

   2     print, in your opinion?

   3         A    Yeah, because it's small.       It's --

   4         Q    Just because it's small?

   5         A    Yeah.                                               01:43:07

   6         Q    That's what you mean.       Okay.

   7              All right.     Back to your declaration,

   8     Paragraph 4.    "As a result of the excessive

   9     information, I was confused as to both what the

  10     purpose of the disclosure was and what it actually           01:43:24

  11     authorized."

  12              You understood there was a purpose to the

  13     disclosure; right?     You just were confused what that

  14     purpose might be?

  15         A    As in -- as in being a simple criminal              01:43:47

  16     background check, yes.     That's what I thought.

  17         Q    You understood it was --

  18              You thought it was just a simple criminal

  19     background check?    That's what you're saying?

  20         A    Yes.                                                01:44:03

  21         Q    Okay.   What do you mean by a simple

  22     criminal background check?

  23         A    As in like a background check.        That's -- I

  24     thought it was just a simple background check that

  25     everybody gives you.                                         01:44:17

                                                                      Page 140

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 3 of 13 Page ID #:710
                           Edwardo L. Munoz - February 20, 2019

   1         Q    Okay.

   2         A    And --

   3         Q    And your understanding now is that's not

   4     the case?

   5         A    Yeah.                                            01:44:24

   6         Q    What -- what makes it different than what

   7     everybody else does?

   8         A    Where -- where everybody can contact

   9     whoever or whomever and -- and if I would have known

  10     that, like I probably wouldn't have signed it.            01:44:47

  11         Q    Okay.    So your testimony is, look, I

  12     thought they were going to run like a public records

  13     search or something.

  14         A    Yeah.

  15         Q    I didn't know they would be contacting --        01:45:04

  16         A    Like my grandma, my -- you know, like --

  17         Q    -- contacting witnesses or something?

  18         A    Yeah.

  19         Q    Okay.    And if it's just a criminal

  20     background search, you have no problem with that,         01:45:21

  21     though; right?

  22         A    Yes.

  23         Q    It's when they do more, to go contact other

  24     witnesses and whatever else?

  25         A    Yes.                                             01:45:28

                                                                   Page 141

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 4 of 13 Page ID #:711
                           Edwardo L. Munoz - February 20, 2019

   1         Q    If you were to learn that 7-Eleven actually

   2     didn't contact witnesses and only did what you call

   3     a simple criminal background check, would you still

   4     be upset?

   5              MR. PELUSO:    Objection.   Calls for            01:45:41

   6     speculation.

   7              THE WITNESS:    No.

   8     BY MR. CHRISTENSEN:

   9         Q    Okay.   You also say in here that you were

  10     confused what it actually authorized.                     01:45:59

  11              And I think that's kinda we're talking

  12     about the same thing again.     You're saying I'm okay

  13     if they run the background search and find out about

  14     my misdemeanor, but I don't -- I don't want them

  15     talking to witnesses and things.                          01:46:14

  16         A    Yes.

  17         Q    That's what you're saying?

  18         A    Yes.

  19         Q    And you were confused that this form

  20     authorized them to do that?                               01:46:20

  21         A    Yes.

  22         Q    Okay.   All right.    Paragraph 5 you say,

  23     "Despite not understanding the nature of the

  24     information that would be disclosed, I chose to

  25     execute the disclosure to continue with the               01:46:55

                                                                   Page 142

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 5 of 13 Page ID #:712
                           Edwardo L. Munoz - February 20, 2019

   1     application process."

   2              That's still true, in your opinion?

   3         A    Yes.

   4         Q    And, again, the nature of the information

   5     is the talking to witnesses; right?                       01:47:07

   6         A    Yes.

   7         Q    Okay.   You then say, Paragraph 6, "Starting

   8     on January 26, 2018, I began my employment with

   9     7-Eleven."

  10              It was actually January 30th; right?             01:47:24

  11         A    Yes.

  12         Q    Okay.   And then, "Approximately one month

  13     later, on or around February 21st, 7-Eleven informed

  14     me that I was terminated based upon information

  15     contained in my background check."                        01:47:37

  16              That's still true; right?

  17         A    Yes.

  18         Q    That's accurate.    Okay.

  19              "In short, had I understood the information

  20     that would be provided to 7-Eleven, I would not have      01:47:48

  21     signed the disclosure."

  22              Again, the information is not the -- not

  23     the misdemeanor, but additional information beyond

  24     that; right?

  25         A    Yes.                                             01:48:00

                                                                   Page 143

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 6 of 13 Page ID #:713
                           Edwardo L. Munoz - February 20, 2019

   1         Q      And that's still true?

   2         A      Yes.

   3         Q      Had it been limited to just we're just

   4     going to look up public records, criminal history --

   5     I don't know -- you have no problem signing that;               01:48:11

   6     right?

   7         A      Yes.

   8         Q      And, in fact, you told Mike, "Yeah.         Go

   9     ahead and run a background search"?

  10         A      Yes.                                                 01:48:19

  11         Q      Okay.    All right.    Let's look at the

  12     disclosure here.

  13                MR. PELUSO:    Just sticking with the same

  14     exhibit?    Yeah.

  15                MR. CHRISTENSEN:      I guess so.   Yeah.    We're   01:48:34

  16     on it, I guess.     Actually, no, you're probably

  17     right.

  18                Okay.    Let's grab -- if you have Exhibit 8

  19     lying around.      Or you know what?    I might have a

  20     better one here.                                                01:48:56

  21                That's okay.    All right.    We'll stick to

  22     this exhibit.      If we have to bounce around, we'll do

  23     it, but we'll try to make this simple.

  24         Q      All right.    So we're still on Exhibit --

  25                MR. PELUSO:    16, I think.                          01:49:12

                                                                         Page 144

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 7 of 13 Page ID #:714
                           Edwardo L. Munoz - February 20, 2019

   1              THE COURT REPORTER:      Yes.

   2     BY MR. CHRISTENSEN:

   3         Q    16.    Thank you.

   4              All right.     This is the disclosure and this

   5     is the disclosure you say you were confused by;            01:49:18

   6     right?

   7         A    Yes.

   8         Q    And did you read this disclosure?

   9         A    Yes.

  10         Q    Word for word?                                    01:49:32

  11         A    No.

  12         Q    How much of this disclosure did you read?

  13         A    About the first, first sentence, first

  14     couple sentences.    Yeah.

  15         Q    First couple sentences.       Okay.               01:49:48

  16              Let's -- let's go through so you can show

  17     me what you read exactly, and then we'll talk to

  18     what you understood.     All right.

  19              Okay.    So the heading, and it's kinda

  20     covered up by the court stamp, but it                      01:50:08

  21     says, "Disclosure Regarding Background

  22     Investigation."

  23              Did you read that?

  24         A    Yes.

  25         Q    And did you understand what that was?             01:50:18

                                                                    Page 145

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 8 of 13 Page ID #:715
                           Edwardo L. Munoz - February 20, 2019

   1         A    No.

   2         Q    You didn't understand what that meant?

   3         A    No.

   4         Q    What did you think it meant?

   5         A    I thought it was just a background check.        01:50:27

   6         Q    Okay.   And is it your understanding now

   7     that it's not?

   8         A    Yes.

   9         Q    And the reason why, why do you think it's

  10     not a background check?                                   01:50:41

  11         A    Because what it says right here, it says

  12     consumer report, background report, and the

  13     investigative consumer report --

  14         Q    Okay.

  15         A    -- which I have no idea of what those are.       01:50:52

  16         Q    Okay.   Okay.   So you first see, "Disclosure

  17     Regarding Background Investigation," and you're

  18     saying I don't know what background investigation

  19     means?

  20         A    Yeah.                                            01:51:04

  21         Q    You, at least, understood it was some kind

  22     of investigation into your background, though;

  23     right?

  24         A    Yes.

  25         Q    And you agree that that suggests it's maybe      01:51:11

                                                                   Page 146

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                           Edwardo L. Munoz - February 20, 2019

   1     even broader than just a criminal history search;

   2     right?

   3         A    Yes.

   4         Q    All right.     So then you -- you read this

   5     first sentence, you say?                                   01:51:24

   6         A    Yes.

   7         Q    And, again, this is -- just so I'm clear,

   8     you're at the 7-Eleven office on the computer;

   9     right?

  10         A    Yes.                                              01:51:32

  11         Q    Reading this.

  12              Okay.   So let's read this first sentence

  13     together.   "For the purpose" --

  14              Or actually will you read it, the first

  15     sentence?                                                  01:51:41

  16         A    "For the purpose of maintaining the safety

  17     and security of our stores, customers, employees,

  18     and property, 7-Eleven, Inc., may order a consumer

  19     report, background report or investigate" --

  20     "investigative consumer report on you in connection        01:51:56

  21     with application for employment on your ongoing

  22     employment with 7-Eleven."

  23         Q    Okay.   Good.    So that's the sentence you

  24     read at the time?

  25         A    Yes.                                              01:52:11

                                                                    Page 147

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 10 of 13 Page ID
                          Edwardo L. Munoz
                                     #:717 - February 20, 2019

 1         Q    And I think I understand you're saying you

 2    didn't understand what this sentence was saying?

 3         A    Yes.

 4         Q    Okay.   What about it don't you understand?

 5         A    I don't know what a consumer report is,         01:52:29

 6    background report or investigative consumer report.

 7         Q    Okay.   At the time did you have any thought

 8    as to what those might mean?

 9         A    I just thought it was a background check.

10         Q    Just a background check, like you're saying     01:52:50

11    public records check or whatever?

12         A    Like every other -- every other application

13    that I've done.

14         Q    Yeah.

15         A    I thought it was the same thing --              01:52:59

16         Q    Okay.

17         A    -- with the background check.

18         Q    Okay.   But those phrases -- consumer

19    report, background report, investigative consumer

20    report -- those were foreign to you?                      01:53:10

21         A    Yes.

22         Q    Okay.   Did you say, "Mike, man, I don't

23    know what this means.    What are they talking about,

24    a consumer report, investigative consumer report"?

25         A    No.                                             01:53:23

                                                                Page 148

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 11 of 13 Page ID
                          Edwardo L. Munoz
                                     #:718 - February 20, 2019

 1         A    Yeah.

 2         Q    Yeah.   Okay.

 3              So as you read that now, does it help you

 4    see that these kinda weirder terms -- consumer

 5    report, background report, investigative consumer           02:03:00

 6    report -- are then explained below saying, look,

 7    we're going to look at sources, look into your

 8    character, general reputation, we might do personal

 9    interviews?   Does that help you understand what the

10    report might look like?                                     02:03:16

11              MR. PELUSO:     Objection as to the form.

12              THE WITNESS:     Kind of.   Not really, I mean.

13    BY MR. CHRISTENSEN:

14         Q    What confuses you about that?

15         A    Because like is it all of them put into one       02:03:30

16    or --

17         Q    All of what put into one?      Sorry.

18         A    -- or is it just -- is it consumer report

19    or is it a background report or is it an

20    investigative report --                                     02:03:45

21         Q    Okay.

22         A    -- or is it just all of them put

23    together --

24         Q    Sure.   So your concern --

25         A    -- basically?                                     02:03:51

                                                                  Page 157

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 12 of 13 Page ID
                          Edwardo L. Munoz
                                     #:719 - February 20, 2019

 1    BY MR. PELUSO:

 2         Q    And if you understood that 7-Eleven had the

 3    right or was asking you to give them the right to do

 4    things like contact past employers and family

 5    members, would you have said yes?                          02:16:18

 6         A    No.

 7         Q    Okay.   Just one thing.

 8              I believe you said that this -- we're

 9    looking at Exhibit 16 still, the background check

10    disclosure there.                                          02:16:37

11              You'd stated that you don't recall reading

12    this whole thing?

13         A    No.

14         Q    Is that because you --

15              Well, why did you stop reading after you         02:16:48

16    saw background check?

17         A    Because I thought it was just a simple

18    background check, just --

19         Q    And that's what you were authorizing?

20         A    Yes.    I thought it was like every other job    02:16:59

21    background check.

22         Q    So asking you to authorize additional

23    things you believe is outside the scope of a basic

24    background check?

25              MR. CHRISTENSEN:     Objection.    Leading.      02:17:16

                                                                 Page 168

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Case 2:18-cv-03893-RGK-AGR Document 71-3 Filed 04/22/19 Page 13 of 13 Page ID
                          Edwardo L. Munoz
                                     #:720 - February 20, 2019

 1              THE WITNESS:    Yes.

 2              MR. PELUSO:    Okay.   I don't have any more

 3    questions.

 4              MR. CHRISTENSEN:    Okay.   Just a couple

 5    follow-ups on that.                                       02:17:23

 6

 7                      FURTHER EXAMINATION

 8    BY MR. CHRISTENSEN:

 9          Q   I think I understand what you're saying

10    that, what you understood, this form was authorizing      02:17:31

11    a basic background check; right?

12          A   Yes.

13          Q   And your counsel mentioned you thought

14    calling schools would go above a basic background

15    check; is that right?                                     02:17:45

16          A   Yes.

17          Q   Do you have an issue with 7-Eleven calling

18    past schools?

19          A   I mean, is it -- is it necessary?

20          Q   I'm just asking if you have an issue with       02:17:56

21    it.

22          A   I mean, no.    I don't have an issue.

23          Q   Okay.   So why wouldn't you have authorized

24    them to do it?

25          A   Because I don't think they need -- they         02:18:10

                                                                Page 169

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